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                                                                         2024 Mar-25 PM 05:39
                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA




            EXHIBIT G
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                                                body-worn camera recorded
                   on August 26, 2020
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

JOSHUA PHILLIPS,                         )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )   Civil Action Number: 5:22-cv-00987-LCB
                                         )
CITY OF HANCEVILLE,                      )
ALABAMA, et al.,                         )
                                         )
      Defendants.                        )

      NOTICE OF CONVENTIONALLY FILING BY DEFENDANTS

      Notice is hereby given that defendants City of Hanceville, Alabama,

Investigator Josh Howell, Sergeant Kyle Duncan, and Deputy Police Chief Adam

Hadder will conventionally file with the Clerk of Court a compact disc containing

the following exhibits that were not electronically filed using the CM/ECF system:

      1.    Exhibit G, Howell Decl., Tab 1, Video Recorded from Sergeant
            Duncan’s Body-Worn Camera on September 8, 2020 [D00048],
            Evidentiary Submission in Support of Motions for Summary
            Judgment by Defendants

      2.    Exhibit G, Howell Decl., Tab 2, Closed Circuit Video at Hanceville
            Police Department recorded on September 8, 2020 [D00049],
            Evidentiary Submission in Support of Motions for Summary
            Judgment by Defendants

      3.    Exhibit G, Howell Decl., Tab 4, Video Recorded from Body-Worn
            Camera on August 26, 2020 [D00105], Evidentiary Submission in
            Support of Motions for Summary Judgment by Defendants
   Case 5:22-cv-00987-LCB   Document 34-7   Filed 03/25/24   Page 6 of 20




    4.    Exhibit F, Kiker Decl., Tab 3, Combined Side-by-Side Video of
          Sergeant Duncan’s Body-Worn Camera and Closed Circuit Video at
          Hanceville Police Department, Evidentiary Submission in Support of
          Motions for Summary Judgment by Defendants



                                 S/C. Gregory Burgess
                                 C. Gregory Burgess (ASB-1519-R79C)
                                 Stephanie Margaret Hall (ASB-1050-F67A)

                                 Attorneys for defendants City of
                                 Hanceville, Alabama, Investigator Josh
                                 Howell, Sergeant Kyle Duncan, and
                                 Deputy Police Chief Adam Hadder

OF COUNSEL:

LANIER FORD SHAVER & PAYNE P.C.
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    Case 5:22-cv-00987-LCB     Document 34-7    Filed 03/25/24   Page 7 of 20




                        CERTIFICATE OF SERVICE

      I hereby certify that on the 25th day of March, 2024, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to the following:

RODERICK VAN DANIEL                      RICHARD A. RICE
RODERICK VAN DANIEL LAW                  THE RICE FIRM, LLC
 FIRM, LLC                               115 Richard Arrington Jr. Blvd. N.
3003 13th Avenue South, Suite 19         Birmingham, Alabama 35203
Birmingham, Alabama 35205                Telephone: (205) 618-8773
Telephone: (205) 317-9321                Email: rrice@rice-lawfirm.com
Email: roddaniel205@gmail.com


                                     S/C. Gregory Burgess
                                     C. Gregory Burgess
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

JOSHUA PHILLIPS,                         )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )   Civil Action Number: 5:22-cv-00987-LCB
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      Defendants.                        )

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   Case 5:22-cv-00987-LCB   Document 34-7   Filed 03/25/24   Page 10 of 20




    4.    Exhibit F, Kiker Decl., Tab 3, Combined Side-by-Side Video of
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                                  Attorneys for defendants City of
                                  Hanceville, Alabama, Investigator Josh
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 FIRM, LLC                               115 Richard Arrington Jr. Blvd. N.
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Telephone: (205) 317-9321                Email: rrice@rice-lawfirm.com
Email: roddaniel205@gmail.com


                                     S/C. Gregory Burgess
                                     C. Gregory Burgess
Case 5:22-cv-00987-LCB   Document 34-7   Filed 03/25/24   Page 12 of 20




                         Tab 3
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                             DOCUMENT 1




                                                           Phillips v. Hanceville
                                                                        D00001
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                             DOCUMENT 1




                                                           Phillips v. Hanceville
                                                                        D00002
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                             DOCUMENT 1




                                                           Phillips v. Hanceville
                                                                        D00003
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                             DOCUMENT 1




                                                           Phillips v. Hanceville
                                                                        D00004
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                      NORTHEASTERN DIVISION

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                                         )
       Plaintiff,                        )
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v.                                       )   Civil Action Number: 5:22-cv-00987-LCB
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                                     S/C. Gregory Burgess
                                     C. Gregory Burgess
